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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,                           Case No. 17-CR-03246-MV

                                  Plaintiff,

v.

JOHN DOMPIERRE, et.al.

                                Defendant.




                       ORDER GRANTING DEFENDANT’S
            UNOPPOSED MOTION TO EXTEND TIME TO FILE JOINDER IN
          DEFENDANT, CHANTE BICKHAM’S MOTION FOR SEVERANCE

       THIS MATTER having come before the Court upon defendant’s Unopposed Motion to

Extend Time to File Joinder in Defendant Chante Bickham’s Motion for Severance, (Doc. 226),

and the Court being fully advised in the premises, including that the United States does not

oppose the requested extension, FINDS that the Motion is granted.

       IT IS THEREFORE ORDERED that the time for Defendant to file the Joinder is

hereby extended to July 22, 2019.



                                               ___________________________________
                                               The Honorable MARTHA VASQUEZ
                                               United States District Court Judge
